Case 0:22-cr-60028-WPD Document 41 Entered on FLSD Docket 08/01/2022 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,                         CASE NO. 22-60028-CR-DIMITROULEAS

         Plaintiff,

  vs.

  LUKE JOSELIN,

        Defendant.
  _____________________________________/

                                           ORDER

         THIS CAUSE is before the Court on Defendant Luke Joselin’s Second Motion to

  Continue Trial [DE-40], and the Court having considered the motion and being fully advised in

  the premises, it is hereby

         ORDERED AND ADJDUGED that the Motion is Denied. The Calendar Call is reset to

  August 9, 2022 at 1:30 P.M.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  1st day of August, 2022.




  Copies furnished to:

  Counsel of Record
Case 0:22-cr-60028-WPD Document 41 Entered on FLSD Docket 08/01/2022 Page 2 of 2
